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12
                                     UNITED STATES DISTRICT COURT
13
                                  NORTHERN DISTRICT OF CALIFORNIA
14
                                          SAN FRANCISCO DIVISION
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     In re Cathode Ray Tube (CRT) Antitrust           Master File No. 3:07-cv-05944-SC
17   Litigation                                       MDL No. 1917

18                                                    [PROPOSED] ORDER GRANTING
     This document relates to:                        COSTCO WHOLESALE
19                                                    CORPORATION’S
     Costco Wholesale Corporation v. Technicolor      ADMINISTRATIVE MOTION TO
20   SA, et al., No. 13-cv-05723-SC                   SEAL PORTIONS OF COMPLAINT
                                                      PURSUANT TO CIVIL LOCAL
21                                                    RULES 7-11 AND 79-5(d)

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     [Proposed] Order Granting Costco’s                                       Case No. 07-5944-SC
     Administrative Motion to Seal                                                 MDL No. 1917
       Case 3:07-cv-05944-JST Document 2342 Filed 01/21/14 Page 2 of 2



 1           On January 13, 2014, Costco Wholesale Corporation filed an administrative motion to
 2   maintain under seal the highlighted portions of the following document pursuant to Local Rules
 3   7-11 and 79-5(d):
 4                •   Costco’s Complaint against Technicolor SA (f/k/a Thomson SA); Technicolor
                      USA, Inc. (f/k/a Thomson Consumer Electronics, Inc.); Videocon Industries Ltd.;
 5                    Technologies Displays Americas LLC (f/k/a Thomson Displays Americas LLC);
                      Mitsubishi Electric Corporation; Mitsubishi Electric Visual Solutions America,
 6                    Inc.; and Mitsubishi Electric & Electronics USA, Inc. (originally filed W.D. Wash,
                      Nov. 12, 2013)
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 8           Having read and considered the papers filed and arguments made by counsel, and good
 9   cause appearing, IT IS HEREBY ORDERED that Costco’s motion is GRANTED.
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11   IT IS SO ORDERED.
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13           January 21, 2014
     Dated: ___________________________                    _______________________________
                                                           Hon. Samuel A. Conti
14                                                         UNITED STATES DISTRICT JUDGE
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     29040-0318/LEGAL28984474.1
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     [Proposed] Order Granting Costco’s                                             Case No. 07-5944-SC
     Administrative Motion to Seal                                                       MDL No. 1917
